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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 17-cv-02378-GPG

JOSHUA LAMONT SUTTON,

       Plaintiff,

v.

RICHARD POUNDS, Dr.,
MANUEL ESPINOZA,
KAREN PARTEN (OR PORTER), and
LARRY MINAZUMI,

       Defendants.


                                ORDER OF DISMISSAL


       Plaintiff, Joshua Lamont Sutton, is a prisoner in the custody of the Colorado

Department of Corrections at the Trinidad Correctional Facility in Model, Colorado. Mr.

Sutton initiated this action on October 2, 2017, by filing pro se a Prisoner Complaint (ECF

No. 1) pursuant to 42 U.S.C. '§ 1981, 1983, 1985 and 1986. He has been granted leave

to proceed in forma pauperis pursuant to 28 U.S.C. § 1915.

       On December 19, 2017, Magistrate Judge Gordon P. Gallagher reviewed the

Prisoner Complaint pursuant to D.C.COLO.LCivR 8.1(b) and determined that it was

deficient because Mr. Sutton failed to state an arguable claim for relief against each

named Defendant for violating his federal constitutional or statutory rights. (ECF No. 9).

Mr. Sutton was directed to file an amended pleading within 30 days. (Id.). Plaintiff

thereafter requested and was granted an extension until February 24, 2018 to file his

Amended Prisoner Complaint. Plaintiff filed an Amended Prisoner Complaint on

February 23, 2018. (ECF No. 12).
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       The court must construe the Amended Prisoner Complaint liberally because Mr.

Sutton is not represented by an attorney. See Haines v. Kerner, 404 U.S. 519, 520-21

(1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). However, the court should

not be an advocate for a pro se litigant. See Hall, 935 F.2d at 1110. For the reasons

stated below, this action will be dismissed.

I. The Amended Prisoner Complaint

       Mr. Sutton alleges in the Amended Prisoner Complaint that on October 1, 2015,

while he was incarcerated at the Colorado Mental Health Institute at Pueblo (CMHIP),

each of the named Defendants diagnosed him with post- traumatic stress disorder, but

did not advise the Plaintiff of this diagnosis. Mr. Sutton states that he was thereafter

transferred to prisons where he was placed on 24-hour-per-day lockdown, or was housed

in cells with inmates who sexually assaulted him. Mr. Sutton claims that the Defendants

placed him in solitary confinement after he gave one or more of the Defendants, or their

co-workers, some razor blades that he had intended to use to commit suicide, and told the

Defendants that he was being prosecuted for harming another prisoner. Plaintiff claims

that the Defendants violated his Eighth Amendment rights and his Fourteenth

Amendment equal protection rights. He sues the Defendants in their individual

capacities and requests monetary relief.

II. Analysis

   A. § 1983 claims

       1. Eighth Amendment

       Mr. Sutton asserts that the Defendants, who are medical and/or mental health care

providers at CMHIP, are liable for alleged violations of his Eighth Amendment rights that

occurred after he was transferred from CMHIP to other CDOC facilities.
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       Plaintiff was warned by Magistrate Judge Gallagher in the December 19 Order that

the named Defendants could only be held liable under § 1983 if they were personally

involved in a deprivation of his constitutional rights. See Henry v. Storey, 658 F.3d 1235,

1241 (10th Cir. 2011) (allegations of “personal participation in the specific constitutional

violation complained of [are] essential” to a § 1983 action); see also Foote v. Spiegel, 118

F.3d 1416, 1423 (10th Cir. 1997) (“[i]ndividual liability . . . must be based on personal

involvement in the alleged constitutional violation.”); Butler v. City of Norman, 992 F.2d

1053, 1055 (10th Cir. 1993) (same).

       Under the Eighth Amendment, “prison officials must ensure that inmates receive

adequate food, clothing, shelter, and medical care, and must ‘take reasonable measures

to guarantee the safety of the inmates.’” Farmer v. Brennan, 511 U.S. 825, 832 (1994)

(quoting Hudson v. Palmer, 468 U.S. 517, 526-27 (1984)); see id. at 833 (“[P]rison

officials have a duty [under the Eighth Amendment] to protect prisoners from violence at

the hands of other prisoners.”). The Eighth Amendment is violated when a prison official

acts with deliberate indifference to a substantial risk of serious harm to an inmate. Id. at

825, 828. An Eighth Amendment claim must satisfy two requirements. “First, the

deprivation alleged must be, objectively, ‘sufficiently serious.’” Id. at 834 (quoting Wilson

v. Seiter, 501 U.S. 294, 298 (1991)). Second, “a prison official must have a ‘sufficiently

culpable state of mind.’” Id. This second requirement is subjective, rather than objective:

“a prison official cannot be found liable under the Eighth Amendment for denying an

inmate humane conditions of confinement unless the official knows of and disregards an

excessive risk to inmate health or safety; the official must both be aware of facts from

which the inference could be drawn that a substantial risk of serious harm exists, and he


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must also draw the inference.” Id. at 837.

       Mr. Sutton was warned in the December 19, 2017 Order that a pro se litigant’s

vague and conclusory allegations that his federal constitutional rights have been violated

do not entitle him to a day in court regardless of how liberally the court construes such

pleadings. See Ketchum v. Cruz, 775 F. Supp. 1399, 1403 (D. Colo. 1991), aff’d, 961

F.2d 916 (10th Cir. 1992). “[I]n analyzing the sufficiency of the plaintiff’s complaint, the

court need accept as true only the plaintiff’s well-pleaded factual contentions, not his

conclusory allegations.” Hall, 935 F.2d at 1110.

       In the Amended Prisoner Complaint, Mr. Sutton fails to allege specific facts to

show that any of the named Defendants were personally involved in his housing

placements at other CDOC facilities, or that the Defendants acted with deliberate

indifference to a serious risk of harm to his health or safety. Moreover, even if one or

more of the Defendants did recommend that Plaintiff be placed in solitary confinement at

another CDOC facility based on a mental health diagnosis he received at CMHIP, or his

possible suicidal behavior at that facility, placement in solitary confinement does not, by

itself, violate the Eighth Amendment. See Hutto v. Finney, 437 U.S. 678, 687 (1978) (“It

is perfectly obvious that every decision to remove a particular inmate from the general

prison population for an indeterminate period could not be characterized as cruel and

unusual.”).

       Consequently, the Eighth Amendment claims will be dismissed as legally frivolous.

       2. Equal Protection

       In the Amended Prisoner Complaint, Mr. Sutton makes a conclusory assertion that

the Defendants violated his Fourteenth Amendment equal protection rights.


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       “The equal protection clause provides that ‘[n]o state shall . . . deny to any person

within its jurisdiction the equal protection of the laws.’” Grace United Methodist Church v.

City of Cheyenne, 451 F.3d 643, 659 (10th Cir. 2006) (quoting U.S. Const. amend. XIV,

§ 1), “which is essentially a direction that all persons similarly situated should be treated

alike,” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985). To state an

arguable equal protection claim, a plaintiff must first make a “threshold showing” that he

or she was treated differently than others with whom the plaintiff was similarly situated.

Brown v. Montoya, 662 F.3d 1152, 1172-73 (10th Cir. 2011) (internal quotation marks

omitted). See also Matelsky v. Gunn, No. 00-7097, 15 F. App’x 686, 689 (10th Cir. July

19, 2001) (unpublished) (“In the absence of any specific allegations of differential

treatment, the Equal Protection claim is patently inadequate under any of the three equal

protection theories—fundamental rights, suspect classification, or “class of one”—and

was properly dismissed as frivolous.”). Accord Village of Willowbrook v. Olech, 528 U.S.

562, 564 (2000) (stating that even in “class of one” equal protection claim, the plaintiff

must show that he “has been intentionally treated differently from others similarly

situated.”).

       Mr. Sutton does not allege any facts to show that other inmates with whom he was

similarly situated in all relevant respects were treated more favorably than him with regard

to mental health care treatment or recommendations on housing placement at other

CDOC facilities. See Templeman v. Gunter, 16 F.3d 367, 371 (10th Cir. 1994) (stating

that it is not plausible that “there are no relevant differences between [Mr. Griffin] and

other inmates that reasonably might account for their different treatment.”).




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       As discussed above, Mr. Sutton was warned in the December 19 Order that vague

and conclusory assertions that his constitutional rights were violated fail to state an

arguable claim for relief. Therefore, the equal protection claim will be dismissed as

legally frivolous.

       3. Due process

       To the extent Plaintiff alleges that his 24-hours-per-day confinement to his cell

violated the Fourteenth Amendment Due Process Clause, Mr. Sutton has failed to state

an arguable claim for relief.

       Plaintiff was warned in the December 19, 2017 Order that to state an arguable due

process claim, he must allege facts to demonstrate that he was intentionally was deprived

of a constitutionally protected interest in life, liberty, or property. See Templeman v.

Gunter, 16 F.3d 367, 369 (10th Cir. 1994). The existence of a constitutionally protected

liberty interest depends upon the nature of the interest asserted. See Sandin v. Conner,

515 U.S. 472, 480 (1995). Generally, a liberty interest protected by due process may

arise under the United States Constitution or state law. See Sandin, 515 U.S. at 483-84.

However, “the Constitution itself does not give rise to a liberty interest in avoiding transfer

to more adverse conditions of confinement.” Wilkinson v. Austin, 545 U.S. 209, 221

(2005). State law may create a liberty interest if it imposes an “atypical and significant

hardship on the inmate in relation to the ordinary incidents of prison life.” Sandin, 515

U.S. at 484. Relevant factors to be considered in determining whether certain conditions

of confinement impose atypical and significant hardship in relation to the ordinary

incidents of prison life include whether the conditions relate to and further a legitimate

penological interest, whether the conditions are extreme, whether the conditions increase


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the duration of confinement, and whether the conditions are indeterminate. See

DiMarco v. Wyo. Dep’t of Corr., 473 F.3d 1334, 1342 (10th Cir. 2007).

       Mr. Sutton does not allege any specific facts in the Amended Prisoner Complaint

concerning the amount of time Mr. Sutton was in 24-hour-per-day lockdown, or to show

that the conditions of his confinement in lockdown imposed an atypical and significant

hardship in relation to the ordinary incidents of prison life.

       Therefore, to the extent Mr. Sutton is asserting a violation of his Fourteenth

Amendment due process rights, the claim will be dismissed as legally frivolous.

       B. Other Civil Rights Claims

       Mr. Sutton asserted claims under 42 U.S.C. §§ 1981, 1985, 1986, and 1987 in his

original Complaint, but did not specifically refer to those statutes in his Amended Prisoner

Complaint.

       “Section 1981 prohibits racial discrimination in ‘the making, performance,

modification, and termination of contracts, and the enjoyment of all benefits, privileges,

terms, and conditions of the contractual relationship.’” Reynolds v. School Dist. No. 1,

Denver, Colo., 69 F.3d 1523, 1532 (10th Cir.1995) (quoting 42 U.S.C. § 1981). Mr.

Sutton does not allege that any of the Defendants discriminated against him on the basis

of his race in relation to a contract or contractual relationship. As such, the § 1981 claim

is legally frivolous.

       With regard to § 1985, Plaintiff has not made any allegations of race or

class-based animus, and, therefore fails to state an arguable claim for relief under the

statute. Bisbee v. Bey, 39 F.3d 1096, 1102 (10th Cir.1994). Since a § 1986 claim is




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premised upon the existence of a valid § 1985 claim, plaintiff's § 1986 claim also fails. See

Abercrombie v. City of Catoosa, Okl., 896 F.2d 1228, 1230 (10th Cir.1990).

       Finally, 42 U.S.C. § 1987 empowers specified federal officials to arrest and

imprison offenders for violation of certain federal offenses. The statute does not provide

for a civil remedy. Therefore, any claim Mr. Sutton asserts pursuant to § 1987 is legally

frivolous.

III. Orders

       For the reasons discussed above, it is

       ORDERED that the Amended Prisoner Complaint and this action are DISMISSED

WITH PREJUDICE pursuant to 28 U.S.C. § 1915(e)(2)(B). It is

       FURTHER ORDERED that leave to proceed in forma pauperis on appeal is denied

for the purpose of appeal. The Court certifies pursuant to 28 U.S.C. ' 1915(a)(3) that

any appeal from this order would not be taken in good faith. See Coppedge v. United

States, 369 U.S. 438 (1962). If Mr. Sutton files a notice of appeal he must also pay the

full $505 appellate filing fee or file a motion to proceed in forma pauperis in the United

States Court of Appeals for the Tenth Circuit within thirty days in accordance with Fed. R.

App. P. 24.

       DATED March 20, 2018, at Denver, Colorado.

                                          BY THE COURT:



                                          s/Lewis T. Babcock
                                          LEWIS T. BABCOCK, Senior Judge
                                          United States District Court




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